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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



   STATE OF FLORIDA,

         Plaintiff,

   v.                                               CASE NO. 8:21-cv-839-SDM-AAS

   XAVIER BECERRA, et al.,

         Defendants.
   __________________________________/


                                            ORDER

         On October 30, 2020, the Center for Disease Control and Prevention (CDC)

   issued a conditional sailing order the validity of which Florida challenges on several

   grounds, including that the order fails to comply with the Administrative Procedure

   Act. Florida moves (Doc. 9) for a preliminary injunction. A hearing on the motion

   for preliminary injunction will occur in Courtroom 15A, United States Courthouse,

   801 North Florida Avenue, Tampa, Florida, beginning on WEDNESDAY,

   MAY 12, 2021, at 9:00 a.m. In accord with Local Rule 6.02(c), the defendants

   must respond to the motion (Doc. 9) for preliminary injunction no later than

   MAY 5, 2021. Any party who will offer evidence at the hearing must file no later

   than MAY 5, 2021, a witness list and an exhibit list (any witness or exhibit not

   appearing on a list is in-admissible).
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         Also, Alaska moves (Doc. 8) under Rule 24, Federal Rules of Civil Procedure,

   to intervene. (Doc. 8 at 1–2) Alaska’s updated Local Rule 3.01(g) certification

   explains that Alaska contacted the Department of Justice, which “indicated that the

   defendants reserve the right to oppose Alaska’s motion once they have had a chance

   to review it.” (Doc. 10 at 1) Any party opposing Alaska’s intervention must file no

   later than NOON on APRIL 27, 2021, a memorandum explaining the basis for the

   opposition.

         No later than NOON on APRIL 26, 2021, Florida must e-mail to each

   defendant a copy of this order and must file immediately a notice confirming

   transmission of the e-mail to each defendant. The clerk is directed to mail promptly

   to each defendant a copy of this order at each address provided in the certificate of

   service appended to the motion for preliminary injunction. (Doc. 9 at 27)

         ORDERED in Tampa, Florida, on April 23, 2021.




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